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                 EXHIBIT D
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DeBruin, David W.

From:                               Ross, Trini (USANYW) <Trini.Ross@usdoj.gov>
Sent:                               Sunday, February 6, 2022 8:01 PM
To:                                 DeBruin, David W.
Cc:                                 Kresse, MaryEllen (USANYW); Rodriguez, Everardo (USANYW); Sroka, Scott (USANYW);
                                    Ippolito, Russell (USANYW)
Subject:                            RE: Cayuga Nation application for Special Law Enforcement Commissions


External Email – Exercise Caution
Greetings David.

As stated in my January 20, 2022 email, I have gather additional information so that I can responding to your request for
a meeting with me and others in the Western District of New York.
Based on the information I have obtained, I cannot grant your request to meet at this time.
While I am sure this is not the response you wanted, know that the United States Attorney’s Office for the Western
District of New York intends to do what we can to maintain good relations with the Cayuga Nation and the Cayuga
citizens.
Should the circumstances change, I will let you know.
Best,
Trini

From: Ross, Trini (USANYW)
Sent: Thursday, January 20, 2022 10:41 AM
To: DeBruin, David W. <DDeBruin@jenner.com>
Cc: Kresse, MaryEllen (USANYW) <MKresse@usa.doj.gov>; Rodriguez, Everardo (USANYW) <ERodriguez@usa.doj.gov>;
Sroka, Scott (USANYW) <SSroka@usa.doj.gov>; Ippolito, Russell (USANYW) <rippolito@usa.doj.gov>
Subject: RE: Cayuga Nation application for Special Law Enforcement Commissions

Hello David.
I understand you are anxious to schedule a meeting with us, however, as I previously stated, we are working on
gathering information on our end. Rest assured, your request for a meeting with this office is on our radar and as soon
as we work through the information on our end I will contact you. Until then, I request that you remain patient as we
are working on this.
Hope you are well.
Trini

From: DeBruin, David W. <DDeBruin@jenner.com>
Sent: Wednesday, January 19, 2022 5:09 PM
To: Ross, Trini (USANYW) <TRoss@usa.doj.gov>
Cc: Kresse, MaryEllen (USANYW) <MKresse@usa.doj.gov>; Rodriguez, Everardo (USANYW) <ERodriguez@usa.doj.gov>;
Sroka, Scott (USANYW) <SSroka@usa.doj.gov>; Ippolito, Russell (USANYW) <rippolito@usa.doj.gov>
Subject: [EXTERNAL] RE: Cayuga Nation application for Special Law Enforcement Commissions

Hello Ms. Ross. It has been an additional ten days, and I wondered whether you had any questions or
comments regarding the Cayuga Nation matters you were reviewing? Would it be helpful to try to set
up a time to meet, either in person or virtually?

Thank you,
                                                            1
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David

From: Ross, Trini (USANYW) <Trini.Ross@usdoj.gov>
Sent: Friday, January 7, 2022 10:51 AM
To: DeBruin, David W. <DDeBruin@jenner.com>
Cc: Kresse, MaryEllen (USANYW) <MaryEllen.Kresse@usdoj.gov>; Rodriguez, Everardo (USANYW)
<Everardo.Rodriguez@usdoj.gov>; Sroka, Scott (USANYW) <Scott.Sroka@usdoj.gov>; Ippolito, Russell (USANYW)
<Russell.Ippolito@usdoj.gov>
Subject: RE: Cayuga Nation application for Special Law Enforcement Commissions

External Email – Exercise Caution
Thank you for the information David.
I will review and continue seeking the guidance I need so that we can all move forward and establish the strong
relationship between this District and the Nation. Again, know that I am actively working on this matter.
Best,
Trini



From: DeBruin, David W. <DDeBruin@jenner.com>
Sent: Friday, January 7, 2022 12:43 PM
To: Ross, Trini (USANYW) <TRoss@usa.doj.gov>
Cc: Kresse, MaryEllen (USANYW) <MKresse@usa.doj.gov>; Rodriguez, Everardo (USANYW) <ERodriguez@usa.doj.gov>;
Sroka, Scott (USANYW) <SSroka@usa.doj.gov>; Ippolito, Russell (USANYW) <rippolito@usa.doj.gov>
Subject: [EXTERNAL] RE: Cayuga Nation application for Special Law Enforcement Commissions

Ms. Ross, I am disappointed and dismayed to read your response. Prior to 2015, there was a
leadership dispute within the Cayuga Nation. That leadership dispute was resolved by the Cayuga
citizens through an internal governance process, which confirmed that a Cayuga Nation Council led by
Clint Halftown is the proper governing body of the Cayuga Nation. That internal governance process
was carefully reviewed, and the outcome of it was formally recognized, by the Department of the
Interior, and the Department’s decision was affirmed in federal court. Cayuga Nation v. Bernhardt,
374 F. Supp. 3d 1 (D.D.C. 2019). On November 14, 2019, then-Assistant Secretary-Indian Affairs Tara
Sweeney again affirmed that the United States recognizes the Halftown Council “as the Nation’s
governing body without qualification” and that “[t]he Halftown Council is the Nation’s government for
all purposes.” Letter from Assistant Secretary–Indian Affairs Tara Sweeney (Nov. 14, 2019) (attached
here; emphasis added). I also attach the 2016 BIA decision reviewing and formally recognizing on
behalf of the United States the Cayuga Nation resolution of the leadership issue; the 2017 affirmance
of the BIA decision by the Acting Assistant Secretary—Indian Affairs (which was the final decision of
the Department of the Interior, which is the agency of the United States with statutory authority over
such matters); the 2019 decision of the United States District Court for the District of Columbia
affirming the decision of the Department of the Interior; and a recent 2021 submittal of the Cayuga
Nation to the Department of the Interior, responding to a letter from the Seneca County Board of
Supervisors (without attachments, although I am happy to provide those if you like).

There are certain persons within the Cayuga Nation who do not accept the outcome of the resolution
of the leadership dispute by Cayuga citizens. This should not be unfamiliar to you: there are
numerous persons who do not accept that President Biden defeated Donald Trump in the 2020
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election. With all respect, does not mean there is presently a leadership dispute in the United
States? What does it take, beyond what the Department of the Interior already has done, to respect
the decision of Cayuga citizens with regard to their own government?

I appreciate that you must work through this on your own. I hope the attached materials are
helpful. As always, we are willing to answer any questions you have as you work through these
materials. Thank you for your consideration.

David

From: Ross, Trini (USANYW) <Trini.Ross@usdoj.gov>
Sent: Friday, January 7, 2022 9:48 AM
To: DeBruin, David W. <DDeBruin@jenner.com>
Cc: Kresse, MaryEllen (USANYW) <MaryEllen.Kresse@usdoj.gov>; Rodriguez, Everardo (USANYW)
<Everardo.Rodriguez@usdoj.gov>; Sroka, Scott (USANYW) <Scott.Sroka@usdoj.gov>; Ippolito, Russell (USANYW)
<Russell.Ippolito@usdoj.gov>
Subject: RE: Cayuga Nation application for Special Law Enforcement Commissions

External Email – Exercise Caution
Hello David.
I am working through these issues and it has come to my attention that there are two groups within the Cayuga Nation
claiming to be the leaders of the Nation. Until this is resolved I am unable to support either group.
As I work through this critical issue, I am unable to meet with either group, including the one you represent, nor can I
support either groups efforts.
Our relationship with the Cayuga Nation is an important and essential one to this office and the District. Know that I, and
others in my office, are working to obtain the guidance and information necessary to establish communication and a
meaningful relationship with the Nation.
We appreciate your understanding and hope to have a resolution soon so we can move forward and commence a strong
relationship.
Once the guidance we are seeking is provided I will be in touch.
Best,
Trini

From: DeBruin, David W. <DDeBruin@jenner.com>
Sent: Friday, January 7, 2022 11:33 AM
To: Ross, Trini (USANYW) <TRoss@usa.doj.gov>
Cc: Kresse, MaryEllen (USANYW) <MKresse@usa.doj.gov>; Rodriguez, Everardo (USANYW) <ERodriguez@usa.doj.gov>;
Fleming, Mary Pat (USANYW) <MFleming@usa.doj.gov>
Subject: [EXTERNAL] Cayuga Nation application for Special Law Enforcement Commissions

Good morning Ms. Ross and WDNY leadership team –

I hope the new year has gotten off to a good and healthy start for all of you. I am writing with regard
to a matter that may come to your attention. On October 26, 2021, the Cayuga Nation submitted an
application to the BIA for special law enforcement commissions (SLECs) for Cayuga Nation police
officers. As you may know, in 2019 BIA Director Darryl LaCounte affirmed in a letter to Seneca Falls
Police Chief Stuart Peenstra that the Cayuga Nation has the right to enforce Cayuga law on the Cayuga
reservation as to Cayuga members and other Indians through a law enforcement program. Many of
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the Indian nations in New York have such a law enforcement program on their reservation lands. The
Cayuga Nation commissioned its police force in 2018, and the law enforcement program of the Nation
is highly professional: it consists of former NY state police, FBI, and other former local police officers
who average, among them, over 26 years of law enforcement experience. All of this is described in
the Nation’s application for the SLECs (and again, many of the Indian nations in New York have such
commissions for their police officers), which I have attached here. The Nation seeks through its police
force to enhance the stability and security of Nation citizens and activities on its reservation, and also
to assist and coordinate with its local communities. One of the critical features of the federal SLEC
program is to allow better coordination and cooperation between tribal and local state/federal
police. For instance, if a Cayuga member were to call in a complaint of a burglary to the Cayuga
police, and a neighbor were to call in a similar complaint to local police, it is important that the tribal
and local police are aware of and can coordinate their responses: otherwise, one police authority
might mistake the other as the potential intruder.

I am writing because we understand that the BIA is processing our application, and may reach out to
your office for your views and comments. In that regard, the Cayuga Nation and its police
department leaders would be pleased to meet with you and answer any questions you may
have. Mark Lincoln, a former senior official with the NY state police, is the head of the Nation’s police
department; his deputy is Mike DuBois, who recently joined the department after serving for many
years with the FBI.

Given that the Nation has a recognized right to maintain a law enforcement program, we believe it is
vitally important for the Nation police to be able to work with and coordinate with other law
enforcement programs. That is the basis for the SLEC application. Please do not hesitate to let me
know if you have any questions, or if it would be helpful for you or others in your office to meet with
Mark Lincoln, Mike DuBois, or others involved with the Cayuga Nation law enforcement program.

Thank you,
David DeBruin

From: Ross, Trini (USANYW) <Trini.Ross@usdoj.gov>
Sent: Tuesday, November 9, 2021 9:29 AM
To: DeBruin, David W. <DDeBruin@jenner.com>
Cc: Kresse, MaryEllen (USANYW) <MaryEllen.Kresse@usdoj.gov>; Rodriguez, Everardo (USANYW)
<Everardo.Rodriguez@usdoj.gov>; Fleming, Mary Pat (USANYW) <Mary.Pat.Fleming@usdoj.gov>
Subject: RE: Cayuga Nation

Greetings David.
Thank you for your kind letter and the opportunity to meet with Mr. Halftown in his capacity as the Federal
Representative of the Cayuga Nation.
I have added my senior managers to this email since we should all be present at such meeting. Please let me know how
we can go about scheduling.
Looking forward to hearing from you.
Best,
Trini

Trini E. Ross
                                                          4
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United States Attorney
Western District of New York
138 Delaware Avenue
Buffalo, New York 14202
(716) 843-5822




From: DeBruin, David W. <DDeBruin@jenner.com>
Sent: Tuesday, November 9, 2021 10:52 AM
To: Ross, Trini (USANYW) <TRoss@usa.doj.gov>
Subject: [EXTERNAL] Cayuga Nation

Dear US Attorney Ross:

Please see attached letter.

Respectfully,
David W. DeBruin




David W. DeBruin

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